PJG Detention Order (Rev. 2011)


                                     UNITED STATES DISTRICT COURT
                                                                      for the

                                                      District of SOUTH CAROLINA

           United States of America                        )
                          V.                               )
                                                           )       CIR 1:17-mj-149
        JAMES DENNIS SMITH, JR.                            )
                                                           )


                                              DETENTION ORDER PENDING TRIAL

         After conducting a detention hearing under the Bail Reform Act, 18 U.S.C. § 3142(£), I conclude that these facts
require that the defendant be detained pending trial.
                                                          Part I-Findings of Fact


                                                          Alternative Findings (A)
 D (1)           There is probable cause to believe that the defendant has committed an offense
                   D    for which a maximum prison term of ten years or more is prescribed in


                   D     under 18 U .S.C. § 924( c ).
 D (2)          The defendant has not rebutted the presumption established by finding 1 that no condition will reasonably assure
                the defendant's appearance and the safety of the community.

                                                          Alternative Findings (B)
 D (1)           There is a serious risk that the defendant will not appear.
 D (2)           There is a serious risk that the defendant will endanger the safety of another person or the community.


                                          Part II- Statement of the Reasons for Detention
       I find that the testimony and information submitted at the detention hearing establishes by Vclear and
convincing evidence D a preponderance of the evidence that




The defendant waives a detention hearing at this time and reserves the right to request a detention hearing or file a
motion for bond at a later time.




         *Insert as applicable: (a) Controlled Substances Act (21 U.S.C. § 801 et seq.); (b) Controlled Substances Import and Export Act
         (21 U.S.C. § 951 et seq.); or (c) Section I of Act of Sept. 15, 1980 (21 U.S.C. § 955a).                                        Page I of 2
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                                              Part III-Directions Regarding Detention
         The defendant is committed to the custody of the Attorney General or a designated representative for confinement
in a corrections facility separate, to the extent practicable, from persons awaiting or serving sentences or held in custody
pending appeal. The defendant must be afforded a reasonable opportunity to consult privately with defense counsel. On
order of United States Court or on request of an attorney for the Government, the person in charge of the corrections facility
must deliver the defendant to the United States m hal for a court appearance.


Date:                 6/22/2017


                                                                SHIV A V. HODGES, U.S. MAGISTRATE JUDGE
                                                                                        Name and Title




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